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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                               )
IN RE: PHILIPS RECALLED CPAP,                  )
BI-LEVEL PAP, AND MECHANICAL                   )
VENTILATOR PRODUCTS                            )       Master Docket: Misc. No. 21-1230
LITIGATION                                     )
                                               )
                                               )       MDL No. 3014
This Document Relates to: All Actions          )
                                               )
                                               )
                                               )

                                      PRETRIAL ORDER #8

       ORDER APPOINTING CO-LEAD COUNSEL, PLAINTIFFS’ STEERING
     COMMITTEE, CO-LIAISON COUNSEL, AND CERTAIN COMMITTEE AND
                SUBCOMMITTEE CHAIRS AND MEMBERS


        WHEREFORE, this court reviewed the 75 applications for co-lead counsel, Plaintiffs’
Steering Committee (“PSC”), or liaison counsel (collectively “plaintiffs’ leadership”), and
conducted a videoconference 1 interview of each applicant during which the court had the
privilege to learn about each applicant’s impressive relevant professional experience and the
contributions he or she may offer to the plaintiffs and the court in this multi-district litigation
(“MDL”),

        WHEREFORE, this court was informed by many of the applicants that this MDL is
expected to be expansive and include complex and diverse issues of fact, science, and law
because of the class action, medical monitoring, and personal injury claims asserted by the
plaintiffs in this case,




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        This court conducted the interviews of all candidates via Zoom videoconference because
of the risks presented by the COVID-19 pandemic and the surge of COVID-19 cases in and
around December 2021 through February 2022.
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       WHEREFORE, this case will require the appointment of an array of highly skilled
counsel with diverse backgrounds and experience who will provide the plaintiffs with effective
counsel to advance this MDL in an efficient and just manner,

       NOW, this 15th day of February 2022, this court HEREBY issues this order to establish
the plaintiffs’ leadership structure, appoint plaintiffs’ leadership members, clarify and expand
upon the plaintiffs’ leadership responsibilities as set forth in Pretrial Order #1, 2 and appoint
certain committee and subcommittee members and chairs:

       A.      Co-Lead Counsel.
               1.      Appointment. Because this case is expected to be expansive and present
complex issues of fact, science, and law, the court, HEREBY appoints the following 4 counsel
to serve as plaintiffs’ co-lead counsel:
                    Sandra Duggan                      Christopher A. Seeger
                    Levin Sedran & Berman              Seeger Weiss LLP
                    510 Walnut Street                  55 Challenger Road 6th Floor
                    Ste 500                            Ridgefield Park, NJ 07660
                    Philadelphia, PA 19106             212-584-0700
                    215-592-1500                       cseeger@seegerweiss.com
                    215-592-4663 (fax)
                    sduggan@lfsblaw.com

                    Kelly K. Iverson                   Steven A. Schwartz
                    Lynch Carpenter, LLP               Chimicles & Tikellis
                    1133 Penn Avenue, 5th              361 West Lancaster Avenue
                    Floor                              One Haverford Centre
                    Pittsburgh, PA 15222               Haverford, PA 19041
                    412-322-9243                       (610) 642-8500
                    kelly@lcllp.com                    steveschwartz@chimicles.com

               2.      Responsibilities and Duties. Co-lead counsel will have the duties
outlined in Section 10.221 of the Manual for Complex Litigation (Fourth), which include
formulating and presenting positions on substantive and procedural issues during the litigation.
Co-lead counsel shall prosecute all claims (class, medical monitoring, and personal injury) and
coordinate the pretrial proceedings conducted by counsel for the individual plaintiffs and classes.
The authority, duties, and responsibilities of co-lead counsel with respect to all claims also

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       To the extent there is any discrepancy between Pretrial Order #1 and this order, Pretrial
Order #8, the provisions of Pretrial Order #8 control.
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include, but shall not be limited to, the following (after consultation with members of the PSC
and other counsel as may be appropriate):
                  a. organize themselves and agree upon a plan for conducting the MDL on
                      behalf of all plaintiffs;
                  b. determine and present (in briefs, oral argument, or such other fashion as
                      may be appropriate, personally or by a designee) to the court and opposing
                      parties the position of the plaintiffs on matters arising during the
                      coordinated pretrial proceedings;
                  c. the filing, if appropriate, of consolidated master complaints and other
                      pleadings;
                  d. brief and argue motions for the plaintiffs and file opposing briefs and
                      argue motions and proceedings initiated by other parties (except as to
                      matters specifically directed to individual plaintiffs and their counsel) or
                      designate the appropriate counsel to carry out these tasks;
                  e. the initiation and conduct of discovery on behalf of the plaintiffs
                      consistent with the requirements of Federal Rule of Civil Procedure 26,
                      including the preparation of joint interrogatories and requests for
                      production of documents and the examination of witnesses in depositions,
                      except that the discovery and motions initiated by the defendants directed
                      to or regarding named individual plaintiffs will be handled by the counsel
                      for those individuals;
                  f. delegate specific tasks to other counsel in a manner to ensure that pretrial
                      preparation for the plaintiffs is conducted effectively, efficiently and
                      economically;
                  g. enter into stipulations with opposing counsel necessary for the conduct of
                      the MDL;
                  h. convene meetings of the PSC, other committees or subcommittees as
                      necessary for the purpose of proposing joint action and discussing and
                      resolving matters of common concern;




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                   i. coordinate common benefit payments into a common benefit shared cost
                      fund in amounts and at times to be set forth in a protocol 3 prepared by the
                      Plaintiffs’ Time and Expense Subcommittee;
                   j. assess members of the PSC, members of other committees (including the
                      Leadership Development Committee) and members of subcommittees,
                      and other counsel performing authorized common benefit work;
                   k. consult with and employ expert witnesses (in consultation with any
                      relevant subcommittee);
                   l. monitor work performed by the PSC, Settlement Committee, Leadership
                      Development Committee, co-liaison counsel, subcommittees, and those
                      whose work co-lead counsel has specifically authorized;
                   m. perform all tasks necessary to carry out the functions of co-lead counsel
                      and to properly coordinate plaintiffs’ pretrial activities;
                   n. form task-specific subcommittees of counsel, as appropriate;
                   o. authorize plaintiffs’ counsel to initiate case-specific motions and
                      discovery;
                   p. designate plaintiffs’ counsel authorized to attend hearings and depositions;
                   q. along with the Settlement Committee, participate in the settlement
                      negotiations on behalf of plaintiffs and enter into settlement agreements
                      subject to court approval;
                   r. if there is a settlement, participate with the Settlement Committee in
                      proposing a plan of allocation;
                   s. prepare and distribute periodic status reports to the PSC, the court, and the
                      parties; and coordinate and communicate with defendants’ counsel with
                      respect to the matters addressed in this paragraph.




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        It is contemplated that the protocol will address the maintenance of time and expense
records for work performed, costs incurred, and other disbursements made or any potential
common benefit claim, proof of potential common benefit claim, and related matters concerning
expenses, disbursements, and receipts, all subject to the approval of the court and to be reviewed
by an accountant selected by the Plaintiffs’ Time and Expense Subcommittee, with the approval
of the co-lead counsel.
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No generic discovery or other common action or work in this litigation will be undertaken on
behalf of the PSC, or any other committee or any subcommittee except at the direction or with
permission of co-lead counsel.

       B.     PSC.
              1.      Appointment. The co-lead counsel will be ex-officio members of the PSC

and the court HEREBY appoints the following 12 counsel to serve on the PSC:


       William Audet
       Audet & Partners, LLP
       711 Van Ness
       Suite 500
       San Francisco, CA 94102
       415-568-2555
       waudet@audetlaw.com

       Ron Anthony Austin
       Ron Austin Law
       400 Manhattan Blvd
       Harvey, LA 70058
       504-227-8100
       504-227-8122 (fax)
       raustin@ronaustinlaw.com

       Michael J. Blakely, II
       Pope McGlamry
       3391 Peachtree Road
       Suite 300
       Atlanta, GA 30326
       404-523-7706
       efile@pmkm.com
       Virginia Marie Buchanan
       Levin Law Firm
       316 S Baylen Street
       Ste 600
       Pensacola, FL 32502
       850-435-7023
       850-436-6023 (fax)
       vbuchanan@levinlaw.com




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Berger Montague PC
1818 Market Street
Suite 3600
Philadelphia, PA 19103
215-875-4656
215-875-4604 (fax)
scarson@bm.net

Ruth Anne French-Hodson
Sharp Law, LLP
4820 W. 75th St.
Prairie Village, KS 66208
913-901-0505
913-901-0419 (fax)
rafrenchhodson@midwest-law.com

Lauren Sanderson Miller
Hagens Berman Sobol Shapiro LLP
1301 2nd Ave
Suite 2000
Seattle, WA 98101
206-623-7292
laurenm@hbsslaw.com

Michael F. Ram
Morgan & Morgan Mass Tort Dept.
711 Van Ness Avenue
Suite 500
San Francisco, CA 94102
415-358-6913
415-358-6293 (fax)
MRam@forthepeople.com

Jason Rathod
Migliaccio & Rathod LLP
412 H St NE
Suite 302
Washington, DC 20002
202-509-5951
(202) 800-2730 (fax)
jrathod@classlawdc.com




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       Joyce Chambers Reichard
       Kelley & Ferraro, LLP
       Ernst & Young Tower
       950 Main Avenue
       Ste 1300
       Cleveland, OH 44113
       216-575-0777
       216-575-0799 (fax)
       jreichard@kelley-ferraro.com

       Dena C. Sharp
       Girard Sharp LLP
       601 California Street, Suite 1400
       San Francisco, CA 94108
       415-981-4800
       dsharp@girardsharp.com

       David S. Stellings
       Lieff Cabraser Heimann & Bernstein, LLP
       250 Hudson St., 8th fl.
       New York, NY 10013
       212-355-9500
       dstellings@lchb.com


       2.      Responsibilities and Duties. As set forth in Pretrial Order #1 and as amended in
this order, the PSC shall, at a minimum, have the responsibilities set forth in Section 10.221 of
the Manual for Complex Litigation (Fourth), and the following responsibilities:
               a. DISCOVERY. The PSC shall coordinate with co-lead counsel:
                     i. the conduct of all pretrial discovery on behalf of plaintiffs in all actions
                        which are consolidated with the instant MDL;
                    ii. develop and propose to the court schedules for the commencement,
                        execution, and completion of all discovery on behalf of all plaintiffs;
                    iii. cause to be issued in the name of all plaintiffs the necessary discovery
                        requests, motions, and subpoenas pertaining to any witnesses and
                        documents needed to properly prepare for the trial of relevant issues;
                    iv. conduct of all discovery in a coordinated and consolidated manner on
                        behalf of and for the benefit of all plaintiffs, in a fashion in keeping with




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               practice guidelines to be established in subsequent discovery plans or
               orders of this court.
    b. HEARINGS AND MEETINGS. The PSC shall coordinate with co-lead
       counsel to:
          i.     call meetings of plaintiffs’ counsel for any appropriate purpose,
                 including organizing responses to questions of other parties or of the
                 court;
        ii.      initiate proposals, suggestions, schedules, or joint briefs, and any other
                 appropriate matters pertaining to pretrial proceedings;
        iii.     examine witnesses and introduce evidence at hearings on behalf of
                 plaintiffs; and
        iv.      communicate on behalf of all plaintiffs at pretrial proceedings and in
                 response to any inquiries by the court, subject to the right of any
                 plaintiff’s counsel to present non-repetitive individual or different
                 positions.
    c. MISCELLANEOUS. In addition, the PSC shall coordinate with co-lead
       counsel to:
          i.     submit and argue any oral or written motions presented to the court on
                 behalf of the PSC and oppose when necessary any motions submitted
                 by the defendants or other parties which involve matters within the
                 sphere of the PSC;
        ii.      negotiate and enter into stipulations with defendants with respect to
                 this litigation; all such stipulations must be submitted to the court for
                 approval, except for purely administrative details; any attorney not in
                 agreement with a non-administrative stipulation may file with the
                 court a written objection thereto within 14 days after the attorney
                 knows or reasonably should have become aware of the stipulation;
                 failure to timely object shall be deemed a waiver, and the stipulation
                 shall be binding on that party;




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                    iii.   maintain adequate files of all pretrial matters and have them available,
                           under reasonable terms and conditions, for examination by plaintiffs or
                           their attorneys;
                    iv.    prepare periodic status reports summarizing the PSC’s work and
                           progress; these reports shall be submitted to the plaintiffs’ co-liaison
                           counsel, who will promptly distribute copies to the other plaintiffs’
                           attorneys; and
                     v.    perform any task necessary and proper for the PSC to accomplish its
                           responsibilities as defined or authorized by the court’s orders.
       C.      Co-Liaison Counsel.
               1.      Appointment. Because of the expected expansiveness of this litigation
and the assertion of class action, medical monitoring, and personal injury claims, the court
HEREBY appoints the following 2 counsel as co-liaison counsel:

       D. Aaron Rihn                                        Peter S. Wolff
       Robert Peirce & Associates, P.C.                     Pietragallo Gordon Alfano Bosick &
       707 Grant Street                                     Raspanti, LLP
       Suite 125                                            One Oxford Centre - 38th Floor
       Pittsburgh, PA 15219                                 Pittsburgh, PA 15219
       412-281-7229                                         412-263-2000
       412-281-4229 (fax)                                   412-263-2001 (fax)
       arihn@peircelaw.com                                  psw@pietragallo.com



Mr. Rihn and Mr. Wolff are appointed as co-liaison counsel each with liaison oversight over the
entire MDL. Mr. Rihn will have primary responsibility for the administrative tasks as set forth in
this order with respect to the personal injury claims. Mr. Rihn is appointed an ex-officio member
of any subcommittee tasked with duties or issues related to those claims. Mr. Wolff will have
primary responsibility for the administrative tasks as set forth in this order with respect to the
class action and medical monitoring claims. Mr. Wolff is appointed an ex-officio member of any
subcommittee tasked with duties or issues related to those claims. Mr. Wolff and Mr. Rihn—at
the direction of the co-lead counsel—may attend any co-lead, PSC, committee, or subcommittee
meeting.




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               2.         Responsibilities and Duties. Co-liaison counsel will be charged with
essentially administrative functions as set forth in Section 10.221 of the Manual for Complex
Litigation (Fourth). For example, co-liaison counsel shall be authorized to receive orders and
notices from the court on behalf of all parties and shall be responsible for the preparation and
transmittal of copies of such orders and notices to the parties and the performance of other tasks
determined by the court. Co-liaison counsel shall be required to maintain complete files with
copies of all documents served upon that counsel in hard copy or electronic form, and to make
such files available to parties upon request. Co-liaison counsel are also authorized to receive
orders and notices from the Panel pursuant to Rule 5.2(e) of the Panel’s Rules of Procedure or
from the court on behalf of all parties and shall be responsible for the preparation and transmittal
of copies of such orders and notices to the parties. The expenses incurred in performing the
services of co-liaison counsel shall be shared by all plaintiffs in the manner to be ser forth in the
protocol referred to in paragraph A(2)(i) of this order. The co-liaison counsel shall be available
for any conference convened by the court and should communicate the substance of any such
conference to all other plaintiffs’ counsel in conjunction with co-lead counsel, if necessary.
       D.      Other Committees and Subcommittees. There is a wealth of talent and
specialized experience among the applicants for plaintiffs’ leadership in this MDL. The court
appoints initially the following counsel to the committees and subcommittee identified below to
further promote the efficient, just, and speedy resolution of this case and the development of
future MDL leaders. This list is not an exhaustive list of the subcommittees which may be
appointed in this case.
               1.         Settlement Committee Appointment. The court HEREBY appoints the
following 3 counsel to serve as the chair and vice chairs for the Settlement Committee:


       Roberta D Liebenberg—Chair                            Lisa Ann Gorshe—Vice Chair
       Fine, Kaplan and Black, R.P.C.                        Johnson Becker PLLC
       One South Broad Street                                444 Cedar Street
       23rd Floor                                            Ste 1800
       Philadelphia, PA 19107                                Saint Paul, MN 55101
       215-567-6565                                          612-436-1852
       215-568-5872 (fax)                                    Fax: 612-436-1801
       rliebenberg@finekaplan.com                            lgorshe@johnsonbecker.com




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       Arthur H. Stroyd, Jr.—Vice Chair
       Del Sole Cavanaugh Stroyd LLC
       3 PPG Place
       Suite 600
       Pittsburgh, PA 15222
       (412) 261-2172
       412-261-2110 (fax)
       astroyd@dscslaw.com


The co-lead counsel shall coordinate with the members of the Settlement Committee and are ex-
officio members of the Settlement Committee. Ms. Liebenberg, Ms. Gorshe, and Mr. Stroyd may
attend all meetings of the co-lead counsel, the PSC, or subcommittees to further their efforts to
settle the cases in this MDL. These appointments do not serve as an exhaustive list of the
members and this order does not identify all the duties of the Settlement Committee.
               2.      Leadership Development Committee Appointment. The court
appreciated the enthusiasm and talent of the applicants with minimal MDL experience. A
Leadership Development Committee is appropriate in this case to provide those applicants with
the education, experience, and mentorship necessary to lead future MDLs. The co-lead counsel
shall appoint a member of the PSC to chair this committee and oversee the incorporation of the
talents of the members of this committee throughout the litigation. It is the court’s intent that the
members of the Leadership Development Committee will—where appropriate—meaningfully
participate in all phases of this MDL including, but not limited to, participation on committees
and subcommittees, drafting master complaints, drafting and arguing briefs, participating in
settlement negotiations, and preparing for and taking depositions of lay witnesses and expert
witnesses. The court HEREBY appoints the following 10 counsel to the Leadership
Development Committee:

Miriam Fresco Agait
Rubenstein Law, P.A.
9130 S. Dadeland Blvd, Suite PH
Miami, FL 33156
Tel: (305) 661-6000
Fax: (305) 670-7555
E-mail: mfagrait@rubensteinlaw.com




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Ian W. Sloss
Silver Golub & Teitell LLP
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203-325-4491
isloss@sgtlaw.com

Kevin W. Tucker
East End Trial Group LLC
6901 Lynn Way
Suite 215
Pittsburgh, PA 15208
412-877-5220
ktucker@eastendtrialgroup.com


              3.      Plaintiffs’ Time and Expense Subcommittee Appointment. The court
HEREBY appoints the following 2 counsel to serve as the co-chairs for the Plaintiffs’ Time and
Expense Subcommittee:

       Alyson L. Oliver                                    Patrick Wayne Pendley
       Oliver Law Group P.C.                               Pendley, Baudin & Coffin
       1647 W. Big Beaver Rd.                              24110 Eden Street
       Troy, MI 48084-5380                                 Post Office Drawer 71
       248-327-6556                                        Plaquemine, LA 70764
       248-436-3385 (fax)                                  225-687-6396
       notifications@oliverlawgroup.com                    225-687-6398 (fax)
                                                           pwpendley@pbclawfirm.com

Ms. Oliver and Mr. Pendley shall draft a protocol for the common benefit fund to include the
process for the plaintiffs’ time and expense submissions, and payments from the common benefit
fund. This committee shall monitor and report to the court, co-lead counsel, and the PSC the
progress of plaintiffs’ time and expense throughout the pendency of this MDL and any payments



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from the common benefit fund. These appointments do not serve as an exhaustive list of the
members or duties of the Plaintiffs’ Time and Expense Subcommittee.

       E.      Terms of Appointment. Counsel who accept the appointments set forth in this
order agree to serve for the duration of the MDL or until such time as the court determines that a
change in the duration of service shall be made.
       F.      Personal Appointments. The appointments set forth in this order are personal in
nature. The court expects the appointees will draw upon the resources of their firms, their co-
counsel, and their co-counsel’s firms. Each appointee, however, is personally responsible for the
responsibilities and duties that he or she assumes. If any counsel appointed to a leadership
position leaves her or his firm during this MDL, the counsel must immediately notify the court,
and the court may reassess the counsel’s role in a leadership position. If the court allocates
common benefit monies at the conclusion of the litigation, the court may consider all firms with
which counsel has been affiliated during the litigation and the contributions that each firm has
made to the litigation. There should be no expectation that all benefits will be afforded to one
firm or another.
       G.      Review of Appointments. The court will consider a process for periodically
evaluating leadership appointees’ performance and commitment to the tasks assigned, as well as
the ongoing needs of the litigation. The court anticipates that this evaluation will happen on an
approximately annual basis; but this timing will be adjusted as circumstances warrant and at a
time that minimizes any disruption to the litigation that might occur if changes were made to the
team. In evaluating plaintiffs’ leadership, the court will consider: the amount of time the counsel
has devoted to the litigation; the resources the counsel and her or his firm has contributed to the
litigation; whether the counsel is in arrears in her or his contributions; the ability of the counsel
to work collaboratively with other counsel, including counsel who is not appointed to plaintiffs’
leadership; and the commitment the counsel has shown to the fair, just, and efficient
management of this MDL. The court will also periodically assess the needs of the MDL,
including whether any additional or different resources, committees, or subcommittees are
necessary for the plaintiffs’ leadership as the case progresses.
       H.      Designation of Subcommittee Chairs and Members. The court leaves the
creation of any other committees and subcommittees, the designation of other committee and


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subcommittee chairs (and co-chairs), committee and subcommittee membership, and the timing
of the foregoing decisions to the full discretion of co-lead counsel. Co-lead counsel shall
determine a structure for a registry and data collection and analytics and shall consider whether a
subcommittee will be useful with respect to state/federal coordination and be prepared to report
its recommendations to the court.
       I.      Committee and Subcommittee Members. The chairs (and co-chairs) of any
committee or subcommittee shall work under and at the direction of co-lead counsel in all
aspects of their work in this MDL. The PSC, committee, and subcommittee members, including
those on the Leadership Development Committee, shall work at the direction of co-lead counsel,
and, if applicable, under the direction of the relevant committee or subcommittee chair or chairs
with respect to that committee’s or subcommittee’s work performed in this MDL.

                                                     IT IS SO ORDERED.

                                                     /s/ JOY FLOWERS CONTI
                                                     Joy Flowers Conti
                                                     Senior United States District Court Judge




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